 Case 2:14-cr-00014-LGW-BWC Document 396 Filed 09/23/19 Page 1 of 2

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UNITED STATES OF AMERICA


        V.                                              214-CR-014-5


JOSEPH EDWARD LANG


                                          ORDER


       Before the Court is Joseph Lang's motion for early termination

of    supervised     release,      dkt.   no.    394,   to   which    the   Government

objected, dkt. no. 395.            The motion is ripe for review.

        On   March    24,    2015,   following      his      plea   of   guilty,          Lang

appeared before the undersigned and was sentenced to 27 months'

imprisonment to be followed by three years' supervised release for

committing the offense of conspiracy to possess with intent to

distribute, and to distribute, quantities of cocaine and cocaine

base,    both    Schedule     II   controlled      substances,       and '"Molly,"                  a

Schedule I controlled substance.                Lang was actively serving a term

of supervised release when he committed the instant offense.                                 See

United States v. Lang, No. 2:10crl7 (S.D. Ga. Feb. 23, 2011).

       Lang has completed 20 months of supervised release.                         While he

has complied with various conditions of his supervised release, he

has    violated    several    other       conditions,     including      changing            his

residence       without     permission      of    the   Court,      traveling       abroad
 Case 2:14-cr-00014-LGW-BWC Document 396 Filed 09/23/19 Page 2 of 2




without permission of the Court, and failing to maintain stable

employment.

     While the Court commends Lang for obtaining his G.E.D. while

incarcerated   and   returning    negative    drug   samples   while   on

supervised release, the Court must carefully weigh a favorable

adjustment to his supervision against his offense of conviction,

as well as his supervised release violations.          Accordingly, the

Court DENIES Lang's motion, dkt. no. 394, at this time.

     SO ORDERED, this        day of                  2019.




                                      . LISA GODBEY WOOD, JUDGE
                                   IITED STATES DISTRICT COURT
                                 SOUTHERN    DISTRICT OF GEORGIA
